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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO


  In re                                           Case No. 13-29105-EEB

  LILLIAN DEL CARMEN HERNANDEZ                                 Chapter 7

  Debtor.

                                                  Adv. Proc. No. 19-1367
  MARINA PERAZA,

  Plaintiff/Counterclaim-Defendant,

  v.

  DENNIS KING, CHAPTER 7 TRUSTEE,

  Defendant/Counterclaim-Plaintiff.


  LILLIAN DEL CARMEN HERNANDEZ,

  Intervenor-Defendant.

                                           ANSWER


 Intervenor-Defendant Lillian Del Carmen Hernandez (“Intervenor-Defendant”) hereby submits
 her Answer in intervention to Plaintiff/Counterclaim-Defendant Marina Peraza’s (“Peraza”)
 Complaint.

                               JURISDICTION AND VENUE

          1.   Intervenor-Defendant admits the allegations of this paragraph.

          2.   Intervenor-Defendant admits the allegations of this paragraph.

          3.   Intervenor-Defendant admits the allegations of this paragraph.

                                           PARTIES

          4.   Intervenor-Defendant denies the allegations of this paragraph.

          5.   Intervenor-Defendant admits the allegations of this paragraph.

          6.   Intervenor-Defendant admits the allegations of this paragraph.



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                                  GENARL ALLEGATIONS

     A. Debtor’s Bankruptcy Filing

          7.    Intervenor-Defendant admits the allegations of this paragraph.

          8.    Intervenor-Defendant admits the allegations of this paragraph.

          9.    Intervenor-Defendant admits the allegations of this paragraph.

          10.   Intervenor-Defendant admits the allegations of this paragraph.

          11.   Intervenor-Defendant admits the allegations of this paragraph.

          12.   Intervenor-Defendant admits the allegations of this paragraph.

          13.   Intervenor-Defendant admits the allegations of this paragraph.

          14.   Intervenor-Defendant admits the allegations of this paragraph.

          15.   Intervenor-Defendant admits the allegations of this paragraph.

          16.   Intervenor-Defendant admits the allegations of this paragraph.

          17.   Intervenor-Defendant admits the allegations of this paragraph.

          18.   Intervenor-Defendant admits the allegations of this paragraph.

          19.   Intervenor-Defendant admits the allegations of this paragraph.

          20.   Intervenor-Defendant admits the allegations of this paragraph.

     B. Ms. Peraza’s Ownership of the Property

          21.   Intervenor-Defendant admits the allegations of this paragraph.

          22.   Intervenor-Defendant admits the allegations of this paragraph.

          23.   Intervenor-Defendant denies the allegations of this paragraph.

          24.   Intervenor-Defendant denies the allegations of this paragraph.

          25.   Intervenor-Defendant denies the allegations of this paragraph.

          26.   Intervenor-Defendant admits the allegations of this paragraph.

          27.   Intervenor-Defendant denies the allegations of this paragraph.

          28.   Intervenor-Defendant admits the allegations of this paragraph.

          29.   Intervenor-Defendant admits the allegations of this paragraph.

          30.   Intervenor-Defendant admits the allegations of this paragraph.


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          31.   Intervenor-Defendant admits the allegations of this paragraph.

          32.   Intervenor-Defendant admits the allegations of this paragraph.

          33.   Intervenor-Defendant denies the allegations of this paragraph.

          34.   Intervenor-Defendant denies the allegations of this paragraph.

       35.     The document referenced in this paragraph speaks for itself and Intervenor-
 Defendant denies any allegations inconsistent with the same.

          36.   Intervenor-Defendant denies the allegations of this paragraph.

          37.   Intervenor-Defendant denies the allegations of this paragraph.

          38.   Intervenor-Defendant denies the allegations of this paragraph.

          39.   Intervenor-Defendant denies the allegations of this paragraph.

          40.   Intervenor-Defendant denies the allegations of this paragraph.

          41.   Intervenor-Defendant denies the allegations of this paragraph.

          42.   Intervenor-Defendant denies the allegations of this paragraph.

          43.   Intervenor-Defendant denies the allegations of this paragraph.

     C. Debtor’s Eviction Proceeding

          44.   Intervenor-Defendant admits the allegations of this paragraph.

          45.   Intervenor-Defendant admits the allegations of this paragraph.

       46.     The document referenced in this paragraph speaks for itself and Intervenor-
 Defendant denies any allegations inconsistent with the same.

          47.   Intervenor-Defendant admits the allegations of this paragraph.

          48.   Intervenor-Defendant admits the allegations of this paragraph.

     D. Additional Allegations of the Debtor’s Fraud

          49.   Intervenor-Defendant denies the allegations of this paragraph.

          50.   Intervenor-Defendant admits the allegations of this paragraph.

          51.   Intervenor-Defendant admits the allegations of this paragraph.

          52.   Intervenor-Defendant admits the allegations of this paragraph.

          53.   Intervenor-Defendant denies the allegations of this paragraph.

          54.   Intervenor-Defendant denies the allegations of this paragraph.


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          55.   Intervenor-Defendant denies the allegations of this paragraph.

          56.   Intervenor-Defendant denies the allegations of this paragraph.

          57.   Intervenor-Defendant denies the allegations of this paragraph.

          58.   Intervenor-Defendant denies the allegations of this paragraph.

          59.   Intervenor-Defendant denies the allegations of this paragraph.

                                  FIRST CLAIM FOR RELIEF

                                      (Declaratory Judgment)

          60.   Intervenor-Defendant incorporates her prior responses.

          61.   Intervenor-Defendant denies the allegations of this paragraph.

          62.   Intervenor-Defendant denies the allegations of this paragraph.

          63.   Intervenor-Defendant denies the allegations of this paragraph.

          64.   Intervenor-Defendant denies the allegations of this paragraph.

          65.   Intervenor-Defendant denies the allegations of this paragraph.

          66.   Intervenor-Defendant denies the allegations of this paragraph.

        67.      Intervenor-Defendant admits that there is a controversy concerning the Property,
 but denies that Peraza has any interest in the Property except as a tenant.

          68.   Intervenor-Defendant denies the allegations of this paragraph.

          69.   Intervenor-Defendant admits the allegations of this paragraph.

          70.   Intervenor-Defendant admits the allegations of this paragraph.

          71.   Intervenor-Defendant denies the allegations of this paragraph.

          72.   Intervenor-Defendant denies the allegations of this paragraph.

                                       GENERAL DENIAL

        Intervenor-Defendant denies all allegations not specifically admitted, and denies that
 Peraza is entitled to the relief sought.

                                  AFFIRMATIVE DEFENSES

          1.    Peraza fails to state a claim upon which relief may be granted.

          2.    Peraza’s claims are barred by the statute of limitations.

          3.    Peraza’s claims are barred by the doctrine of laches.


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          4.    Peraza’s claims are barred by estoppel.

          5.    Peraza’s claims are barred by waiver.

        6.     Intervenor-Defendant reserves the right to list additional affirmative defenses as
 discovery reveals them.

     Respectfully submitted this 7th day of February, 2020.


                                                        Vedra Law LLC

                                              By:       /s/ Daniel J. Vedra
                                                        Daniel J. Vedra
                                                        Attorneys for Defendant




 00052227. 1                                {00052227. 1}
